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                                   UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                       ALEXANDRIA DIVISION

         ANISH KAPOOR,                              .        Civil Action No. 1:18cv1320
                                                    .
                               Plaintiff,           .
                                                    .
                 vs.                                .        Alexandria, Virginia
                                                    .        November 14, 2018
         NATIONAL RIFLE ASSOCIATION                 .        10:59 a.m.
         OF AMERICA,                                .
                                                    .
                               Defendant.           .
                                                    .
         .   .   .     .   .   .   .   .   .    .   .

                         TRANSCRIPT OF INITIAL PRETRIAL CONFERENCE
                       BEFORE THE HONORABLE THERESA CARROLL BUCHANAN
                               UNITED STATES MAGISTRATE JUDGE

         APPEARANCES:

         FOR THE PLAINTIFF:                         CHRISTINA M. COPSEY, ESQ.
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                                                    Washington, D.C. 20001
                                                      and
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         FOR THE DEFENDANT:                         BLAINE C. KIMREY, ESQ.
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                                                      and
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                                               (Pages 1 - 11)

         (Proceedings recorded by electronic sound recording, transcript
          produced by computerized transcription.)



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    1                             P R O C E E D I N G S

    2               THE CLERK:    Anish Kapoor v. National Rifle

    3    Association of America, 18cv1320.        Counsel, please note their

    4    appearances for the record.

    5               MS. COPSEY:    Christina Copsey of Covington & Burling

    6    on behalf of the plaintiff, Anish Kapoor; and with me is

    7    cocounsel, David Given of Phillips, Erlewine, Given & Carlin,

    8    also for the plaintiff.

    9               THE COURT:    Okay.    Good morning.

   10               MR. RAMANA:    Good morning, Your Honor.             May it please

   11    the Court, Anand Ramana, with Vedder Price.             This is my partner

   12    from the Chicago office, he's been admitted pro hac, Blaine

   13    Kimrey.

   14               MR. KIMREY:    Good morning, Your Honor.

   15               MR. RAMANA:    He is lead counsel.

   16               THE COURT:    Good morning.

   17               All right.    So it seems the main dispute here is

   18    whether or not to have discovery or how it should be shaped.

   19    Let me -- the plaintiff didn't address in this what exactly you

   20    want discovery for, to cover what.

   21               MR. GIVEN:    Right.    So -- David Given for the

   22    plaintiff, Your Honor.      Good morning.

   23               THE COURT:    Good morning.

   24               MR. GIVEN:    So as I understand it, well, first of

   25    all, the focus of this case is going to be on affirmative




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    1    defenses, right?     The work was used without permission.                That's

    2    the definition of copyright infringement.

    3               THE COURT:    Right.

    4               MR. GIVEN:    So the burden is with the defendants.                  As

    5    I understand their case, it's going to boil down to fair use.

    6               THE COURT:    Right.

    7               MR. GIVEN:    Fair use is circumscribed by the, by the

    8    statute, section 107 of the Copyright Act.             There are four

    9    factors.   That's, that's the -- basically, that's the crux of

   10    the discovery, and I'd say of those four factors, probably the

   11    first two or three are the ones that we're going to focus on.

   12               For example, factor 1 is purpose and character of the

   13    use.   Well, purpose raises the issue of intent.

   14               THE COURT:    Um-hum.

   15               MR. GIVEN:    What was the purpose of using

   16    Mr. Kapoor's work in the offending video?            I ought to be able

   17    to inquire into that.

   18               THE COURT:    Um-hum.

   19               MR. GIVEN:    And there's a leading case out of the

   20    Second Circuit called Cariou v. Prince.           I have it with me.            I

   21    can cite it to Your Honor if you'd like to look at it.

   22               THE COURT:    Okay.

   23               MR. GIVEN:    But that case is dead bang on point.                 It

   24    says that the issue of the intent -- the issue of intent,

   25    purpose, intent of the user of the work is relevant to fair




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    1    use.   So that's what we're going to get into.

    2                 As far as the specific discovery, I mean, there's,

    3    there's kind of a back-and-forth here on the other side.                     They

    4    say either shut it down entirely or limit it.

    5                 We're already limited by the rules.             I was waiting

    6    for a responsive pleading before, excuse me, serving our

    7    discovery.    We have that discovery ready to go.               I received a

    8    responsive pleading yesterday.         We'll probably serve at least,

    9    at the very least our request for documents today.

   10                 THE COURT:    Okay.

   11                 MR. GIVEN:    It consists of 20 requests.             It's all

   12    targeted.    It's a very limited case, mind you.

   13                 THE COURT:    Right.

   14                 MR. GIVEN:    We're talking about one advertisement and

   15    one work of art, and that's what our discovery is focused on.

   16                 THE COURT:    Okay.    Thank you.

   17                 Do you have anything to add?

   18                 MR. KIMREY:    Your Honor, may I?         Twenty document

   19    requests doesn't sound like a very limited case, Your Honor.

   20    So, the Cariou decision -- and I actually came prepared to talk

   21    about that.    As you know, we don't believe that discovery is

   22    necessary at all.     Cariou actually stands for the proposition

   23    that you assess -- and the citation is 714 F.3d 694, and the

   24    proposition for which I'm citing it is at pincite 707.                    What

   25    the court says is that you look at the meaning of the alleged




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    1    transformative use from the eye of the reasonable viewer.                    So

    2    you look at it objectively.

    3                Now, I don't know if Your Honor has watched the

    4    video.    It's only 60 seconds.

    5                THE COURT:    All right.

    6                MR. KIMREY:    It's on YouTube.       I commend it to you.

    7    It's called "The Violence of Lies," and it is clear what the

    8    message of the video is, what the transformative purpose of the

    9    video is, and it is to criticize opponents of Second Amendment

   10    rights.   That's clear on the face of the video.              It's clear

   11    from the commentary that Dana Loesch, the commentator, engages

   12    in; and, in fact, with respect to the very fleeting image of

   13    The Bean, or of Cloud Gate -- I don't know if you've seen Cloud

   14    Gate in Millennium Park, Your Honor.

   15                THE COURT:    I have a son who lives in Chicago.               I've

   16    been there.

   17                MR. KIMREY:    So, it briefly flashes on the screen

   18    when Dana Loesch says, "And then they used their ex-president

   19    to endorse the resistance."      Okay.     She doesn't specifically

   20    refer to Barack Obama, but that's clearly the person to whom

   21    she's referring, and The Bean is used as a symbol of Chicago.

   22    It's one of the most --

   23                THE COURT:    Well, isn't that the question then, I

   24    guess, is what -- why that symbol was used, why that piece of

   25    art was used?    I mean, I know you're saying it was used as a




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    1    symbol of Chicago, but wouldn't the plaintiffs be entitled to

    2    discover what exactly the point was in that -- in including

    3    that?

    4               MR. KIMREY:    Well, that's --

    5               THE COURT:    I mean, your representation is one thing,

    6    but it seems like they might be entitled to that and, I think,

    7    a little more in discovery.

    8               MR. KIMREY:    Well, that's obviously within your

    9    discretion, Your Honor, but under the Cariou decision, what

   10    matters is how an objective viewer would see the video, not how

   11    the photographer saw capturing the image what his subjective

   12    views were.

   13               Incidentally, his subjective views are consistent

   14    with what's objectively obvious, but we see, you know, deposing

   15    in this instance for subjective intent to be completely

   16    irrelevant in light of the acknowledgement by opposing counsel

   17    that the standard that should apply here is the standard that

   18    the Second Circuit adopted in Cariou.

   19               Now, your colleague, Your Honor, Judge Brinkema,

   20    actually has a decision that is almost squarely on all fours

   21    with this case, and that is, the Religious Technology Center v.

   22    Lerma case, which is at 908 F. Supp. 1362, and at 1366, what

   23    Judge Brinkema says is:      Okay.    Typically, black letter law,

   24    fair use is a blended fact and legal issue, but here The

   25    Washington Post's use of Church of Scientology liturgy in




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    1    writing about the Church of Scientology, so there were three

    2    quotes in this article by The Washington Post, is so obviously

    3    a fair use that I can decide this issue as a matter of law.

    4                 Now, it was under Rule 56, Your Honor.             It wasn't

    5    under Rule 12(b)(6), it wasn't under Rule 12(c), so it was

    6    under 56 procedurally, but she said:          I can as a matter of law

    7    decide this issue.

    8                 So what we ask for, Your Honor, is under Local

    9    Rule 56 of the Eastern District of Virginia, for leave to

   10    virtually immediately file a motion for summary judgment that

   11    addresses the fair use de minimis use in First Amendment issues

   12    in this case.

   13                 What Mr. Kapoor is engaged in is viewpoint

   14    discrimination.    He doesn't have -- he doesn't have a problem

   15    with the cap- -- and I don't need discovery for this, but I

   16    will depose him if we get into discovery, but he doesn't have a

   17    problem with the brief use of the bean.           He has a problem --

   18    this is actually in the complaint, Your Honor -- he has a

   19    problem with the core political speech that was engaged in by

   20    the NRA.   He has a problem with the NRA's message, and we want

   21    to put that squarely before the Court right away in a

   22    limited --

   23                 THE COURT:   What difference does that make?              Whether

   24    he has a problem with the NRA or not, what difference does it

   25    make?




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    1                MR. KIMREY:    It goes to copyright misuse.             It goes to

    2    intent.   It goes to his selectively enforcing his copyright,

    3    which is something that courts do consider in the fair use

    4    analysis.

    5                THE COURT:    All right.

    6                MR. KIMREY:    So what we'd like to do, we're in the

    7    original Rocket Docket.      Let's go really fast.          We'll get our

    8    motion on file.    You know, they can say what they're entitled

    9    to with the 56(F) affidavit.      The Court can determine whether

   10    that's, you know, within or outside the scope, and we can move

   11    right to judgment on those limited issues, but I can't move

   12    under the local rules on those -- there are other issues in the

   13    case, and they're all in our affirmative defenses and other

   14    defenses in our answer.      I can't move on the limited issues

   15    without leave of the Court under Local Rule 56.

   16                THE COURT:    Okay.

   17                MR. KIMREY:    So I ask that the Court grant me that

   18    leave today.

   19                THE COURT:    All right.    Thank you.        But -- I mean,

   20    this is the Rocket Docket, but I think the plaintiff is

   21    entitled to some discovery on these issues, but I don't expect

   22    it to be a lot.    I don't think we need a lot of depositions or

   23    anything like that.

   24                MR. GIVEN:    Your Honor, I hadn't thought about

   25    depositions off the top.      I will say first of all it's 56(D),




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     1   not 56(F).    It's ironic because we're here because in large

     2   part, the NRA proffered a bunch of people and a bunch of

     3   documents that they said were relevant to the case and that

     4   therefore, because those people and documents were here, the

     5   case should move from Chicago to Alexandria, Virginia.                   So it's

     6   sort of venire.

     7                THE COURT:   Um-hum.

     8                MR. GIVEN:   Putting that aside, we already have two

     9   declarations, so on the, on the specific issue of depositions,

    10   I just want to say we already have two declarations that have

    11   been submitted in this matter, one by a person by the name of

    12   Wayne LaPierre, who talks about his approval of the video.                      We

    13   should be able to take his deposition.

    14                THE COURT:   All right.     Well, I don't want to get

    15   into it, but what my point is here is that, I mean, I'm not

    16   going to rule on discovery that you haven't issued yet.                    My

    17   point is that I hope that it is focused and I hope that it is,

    18   is as limited as possible.        If there are objections to the

    19   discovery, then I'll deal with it on a case-by-case basis.

    20                MR. GIVEN:   I will say that I endeavor in every one

    21   of my cases to keep my discovery targeted.

    22                THE COURT:   Okay.    All right.      So I am going to allow

    23   the discovery.

    24                I don't think you had any other issues in this plan,

    25   did you, any other areas of disagreement?




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     1               MR. GIVEN:    No other issues I can think of.

     2               MR. KIMREY:    No, Your Honor.       The only -- the main

     3   issue is the one I raised early to the Court just now with

     4   respect to leave to move for summary judgment on limited

     5   issues.

     6               THE COURT:    Well, you're only allowed summary

     7   judgment, one bite in this court, so I'd suggest that you hold

     8   off because I think it would perhaps be better positioned once

     9   we get through a little bit of discovery here, but once the

    10   initial discovery is done, I mean, it's up to you as to when

    11   you want to file it, but you only get it once, so you might

    12   want to wait until you're sure that there's no facts in

    13   dispute, okay?

    14               All right.    So I'm going to amend this order, and

    15   I'll enter it today.      Thank you.

    16               MR. GIVEN:    Thank you, Your Honor.

    17               MR. KIMREY:    Thank you, Your Honor.

    18               MS. COPSEY:    Thank you, Your Honor.

    19                                (Which were all the proceedings

    20                                  had at this time.)

    21                        CERTIFICATE OF THE TRANSCRIBER

    22         I certify that the foregoing is a correct transcript from

    23   the official electronic sound recording of the proceedings in

    24   the above-entitled matter.

    25                                                   /s/
                                                  Anneliese J. Thomson



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